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UNITED STATES COURT OF INTERNATIONAL TRADE


ZOOM NORTH AMERICA LLC,
                   Plaintiff,
         v.

UNITED STATES OF AMERICA; OFFICE OF
THE UNITED STATES TRADE
REPRESENTATIVE; ROBERT E. LIGHTHIZER,                      Court No.   20-00326
U.S. TRADE REPRESENTATIVE; U.S.
CUSTOMS & BORDER PROTECTION; and
MARK A. MORGAN, U.S. CUSTOMS &
BORDER PROTECTION ACTING
COMMISSIONER,
                      Defendants.



                                       COMPLAINT

       Plaintiff Zoom North America LLC, (“ZOOM” or “Plaintiff”), by and through its

attorneys, alleges as follows:

      1.       This action concerns Defendants’ prosecution of an unprecedented, unbounded,

and unlimited trade war impacting over $500 billion in imports from the People’s Republic of

China. This Complaint focuses on Defendants’ unlawful escalation of that trade war through the

imposition of a third round of tariffs on products covered by so-called “List 3.” Notice of

Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept. 21, 2018).

      2.       The Trade Act of 1974 (“Trade Act”) did not confer authority on Defendants to

litigate a vast trade war for however long, and by whatever means, they choose. The Office of

the United States Trade Representative (“USTR”) conducted an investigation into China’s unfair

intellectual property policies and practices pursuant to Section 301 of the Trade Act (19 U.S.C.


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§ 2411). Section 304 of the Trade Act (19 U.S.C. § 2414) required USTR to determine what

action to take, if any, within 12 months after initiation of that investigation. USTR failed to issue

List 3 (or subsequent List 4) within that window. USTR may not fall back on its “modification”

authority under Section 307 of the Trade Act (19 U.S.C. § 2417) to salvage List 3. Section 307

of the Trade Act does not permit USTR to expand the imposition of tariffs to other imports from

China for reasons untethered to the unfair intellectual property policies and practices it originally

investigated under Section 301 of the Trade Act. Yet that is exactly what Defendants did here

when they promulgated the List 3 duties in response to China’s retaliatory duties and other

unrelated issues. And even if USTR deems the existing tariffs “no longer appropriate,” as it also

did here, the Trade Act permits USTR only to delay, taper, or terminate—not ratchet up—the

actions it has already taken.

      3.       The arbitrary manner in which Defendants implemented the List 3 tariff action also

violates the Administrative Procedure Act (“APA”). USTR (1) failed to provide sufficient

opportunity for comment, e.g., requiring interested parties to submit affirmative and rebuttal

comments on the same day; (2) failed to consider relevant factors when making its decision, e.g.

undertaking no analysis of the supposed “increased burden” imposed on U.S. commerce from

the unfair policies and practices that it originally investigated; and (3) failed to connect the record

facts to the choices it made. Indeed, despite receiving over 6,000 comments, USTR said

absolutely nothing about how those comments shaped its final promulgation of List 3. USTR’s

preordained decision-making bears no resemblance to the standards that the APA demands.

      4.       The Court should set aside Defendants’ actions as ultra vires and otherwise

contrary to law, and order Defendants to refund (with interest) any duties paid by Plaintiff

pursuant to List 3.


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                                         JURISDICTION

       5.        The Court possesses subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1581(i)(1)(B), which confers exclusive jurisdiction to the Court over “any civil action

commenced against the United States, its agencies, or its officers, that arises out of any law of the

United States providing for … tariffs, duties, fees, or other taxes on the importation of merchandise

for reasons other than the raising of revenue.” 28 U.S.C. § 1581(i)(1)(B).

                                             PARTIES

       6.        Plaintiff ZOOM is a privately-held importer of recording devices, multi-effects

 processors, effects pedals, digital mixers, and samplers, including many imported articles

 classifiable under tariff provisions designated as List 3 provisions and subject to additional duties

 under List 3.

       7.        Defendant United States of America received the disputed tariffs and is the

 statutory defendant under 5 U.S.C. § 702 and 28 U.S.C. § 1581(i)(1)(B).

       8.        The Office of the USTR is an executive agency of the United States charged with

 investigating a foreign country’s trade practices under Section 301 of the Trade Act and

 implementing appropriate responses, subject to the direction of the President. USTR conducted

 the Section 301 investigation at issue and made numerous decisions regarding List 3.

       9.        Ambassador Robert Lighthizer currently holds the position of USTR and serves as

 the director of the Office of the USTR. In these capacities, he made numerous decisions

 regarding List 3.




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       10.     Defendant U.S. Customs & Border Protection (“CBP”) is the agency that collects

 duties on imports. CBP collected payments made by Plaintiff to account for the tariffs imposed

 by USTR under List 3.

       11.     Defendant Mark A. Morgan is the Acting Commissioner of CBP. In this capacity,

 he oversees CBP’s collection of duties paid by Plaintiff under List 3.

                                           STANDING

       12.     ZOOM has standing to sue because it has been “adversely affected or aggrieved

 by agency action within the meaning of” the APA. 5 U.S.C. § 702; see 28 U.S.C. § 2631(i) (“Any

 civil action of which the Court of International Trade has jurisdiction … may be commenced in

 the court by any person adversely affected or aggrieved by agency action within the meaning of

 Section 702 of title 5.”). Tariffs imposed by Defendants pursuant to List 3 adversely affected

 and aggrieved ZOOM because it was required to pay these unlawful duties.

                               TIMELINESS OF THE ACTION

       13.     A plaintiff must commence an action under 28 U.S.C. § 1581(i)(1)(B) “within two

 years after the cause of action first accrues.” 28 U.S.C. § 2636(i).

       14.     The instant action contests action taken by Defendants that resulted in List 3. Notice

of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept. 21, 2018). Plaintiff’s

claims accrued at the earliest on September 21, 2018, when USTR published notice of List 3 in

the Federal Register. Id. and tariffs were first levied on List 3 goods pursuant to the USTR’s

published notice.




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                                        RELEVANT LAW

        15.    Section 301 of the Trade Act authorizes USTR to investigate a foreign country’s

 trade practices. 19 U.S.C. § 2411(b). If the investigation reveals an “unreasonable or

 discriminatory” practice, USTR may take “appropriate” action, such as imposing tariffs on

 imports from the country that administered the unfair practice. Id. § 2411(b), (c)(1)(B).

        16.    Section 304 of the Trade Act requires USTR to determine what action to take, if

 any, within 12 months after the initiation of the underlying investigation. Id. § 2414(a)(1)(B),

 (2)(B).

        17.    Section 307 of the Trade Act (in pertinent part) allows USTR to “modify or

 terminate” an action taken pursuant to Section 301 of the Trade Act either when the “burden or

 restriction on United States commerce” imposed by the investigated foreign country’s practice

 has “increased or decreased” or when the action “is no longer appropriate.” Id. § 2417(a)(1)(B),

 (C).

                                   PROCEDURAL HISTORY

I.      USTR’s Investigation

        18.    On August 14, 2017, President Trump directed Ambassador Lighthizer to consider

 initiating a targeted investigation pursuant to Section 301(b) of the Trade Act concerning China’s

 laws, policies, practices, and actions related to intellectual property, innovation, and technology.

 Addressing China’s Laws, Policies, Practices, and Actions Related to Intellectual Property,

 Innovation, and Technology, 82 Fed. Reg. 39,007 (Aug. 17, 2017). According to the President,

 certain Chinese “laws, policies, practices, and actions” on intellectual property, innovation, and

 technology “may inhibit United States exports, deprive United States citizens of fair


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remuneration for their innovations, divert American jobs to workers in China, contribute to our

trade deficit with China, and otherwise undermine American manufacturing, services, and

innovation.” Id.

      19.     Four days later, on August 18, 2017, USTR formally initiated an investigation into

“whether acts, policies, and practices of the Government of China related to technology transfer,

intellectual property, and innovation are actionable under [Section 301(b) of] the Trade Act.”

Initiation of Section 301 Investigation; Hearing; and Request for Public Comments: China’s

Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 82 Fed. Reg. 40,213 (Aug. 24, 2017).

      20.     Seven months later, on March 22, 2018, USTR released a report announcing the

results of its investigation. OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Findings of

the Investigation Into China’s Acts, Policies, And Practices Related to Technology Transfer,

Intellectual Property, and Innovation Under Section 301 of The Trade Act of 1974 (Mar. 22,

2018), available at https://ustr.gov/sites/default/files/Section%20301%20FINAL.PDF. USTR

found that certain “acts, policies, and practices of the Chinese government related to technology

transfer, intellectual property, and innovation are unreasonable or discriminatory and burden or

restrict U.S. commerce.” Id. at 17. USTR based its findings on (1) China’s use of foreign

ownership restrictions, foreign investment restrictions, and administrative licensing and

approval processes to pressure technology transfers from U.S. to Chinese companies, id. at 45;

(2) China’s use of licensing processes to transfer technologies from U.S. to Chinese companies

on terms that favor Chinese recipients, id. at 48; (3) China’s facilitation of systematic investment

in, and acquisition of, U.S. companies and assets by Chinese entities to obtain technologies and

intellectual property for purposes of large-scale technology transfer, id. at 147; and (4) China’s


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cyber intrusions into U.S. computer networks to gain access to valuable business information,

id. at 171. In its report, USTR did not quantify the burden or restriction imposed on U.S.

commerce by the investigated practices.

      21.     On the same date, USTR published a “Fact Sheet” stating that “[a]n interagency

team of subject matter experts and economists estimates that China’s policies result in harm to

the U.S. economy of at least $50 billion per year.” OFFICE OF THE UNITED STATES TRADE

REPRESENTATIVE, Section 301 Fact Sheet (Mar. 22, 2018), available at https://ustr.gov/about-

us/policy-offices/press-office/fact-sheets/2018/march/Section-301-fact-sheet.    USTR       also

indicated that, consistent with a directive from President Trump, it would “propose additional

tariffs” of 25% ad valorem “on certain products of China, with an annual trade value

commensurate with the harm caused to the U.S. economy resulting from China’s unfair

policies.” Id.; see Actions by the United States Related to the Section 301 Investigation of

China’s Laws, Policies, Practices, or Actions Related to Technology Transfer, Intellectual

Property, and Innovation, 83 Fed. Reg. 13,099 (Mar. 27, 2018) (President Trump’s directive).

II.   Lists 1 & 2

      22.     Between April and August 2018 (i.e. within the 12-month statutory deadline from

the initiation of the investigation in August 2017, see 19 U.S.C. § 2414(a)(2)(B)), Defendants

undertook a series of actions to remedy the estimated harm to the U.S. economy caused by the

investigated unfair practices, ultimately imposing duties on imports from China covered by the

so-called Lists 1 and 2.

      23.     On April 6, 2018, USTR published notice of its intent to impose “an additional

duty of 25 percent on a list of products of Chinese origin.” Notice of Determination and Request



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for Public Comment Concerning Proposed Determination of Action Pursuant to Section 301:

China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 83 Fed. Reg. 14,906, 14,907 (Apr. 6, 2018). The products on the proposed list

covered 1,333 tariff subheadings with a total value of “approximately $50 billion in terms of

estimated annual trade value for calendar year 2018.” Id. at 14,907. USTR explained that it chose

$50 billion because that amount was “commensurate with an economic analysis of the harm

caused by China’s unreasonable technology transfer policies to the U.S. economy, as covered

by USTR’s Section 301 investigation.” OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE,

Under Section 301 Action, USTR Releases Proposed Tariff List on Chinese Products (Apr. 3,

2018), available at https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/-

april/under-section-301- action-ustr.

      24.     On June 20, 2018, USTR published notice of its final list of products subject to an

additional duty of 25% ad valorem, a list commonly known as “List 1.” Notice of Action and

Request for Public Comment Concerning Proposed Determination of Action Pursuant to Section

301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 83 Fed. Reg. 28,710 (June 20, 2018). USTR explained that it had

“narrow[ed] the proposed list in the April 6, 2018 notice to 818 tariff subheadings, with an

approximate annual trade value of $34 billion.” Id. at 28,711.

      25.     At the same time that it finalized List 1, USTR announced that it intended to

impose a 25% ad valorem duty on a second proposed list of Chinese products in order to

“maintain the effectiveness of [the] $50 billion trade action” grounded in its Section 301

investigation. Id. At 28,712. USTR announced a proposed “List 2” covering 284 tariff

subheadings with “an approximate annual trade value of $16 billion.” Id. at 28,711-12.


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       26.    On August 16, 2018, USTR published notice of the final list of products subject to

an additional duty of 25% ad valorem in List 2, comprising “279 tariff subheadings” whose

“annual trade value . . . remains approximately $16 billion.” Notice of Action Pursuant to Section

301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 83 Fed. Reg. 40,823, 40,823-24 (Aug. 16, 2018).

III.   List 3 and List 4

       27.    Following USTR’s issuance of the results of its investigation in March 2018,

Defendants broadly expanded the scope of the tariffs imposed under Section 301 of the Trade

Act to cover imports worth more than $500 billion—ten times the amount it had deemed

“commensurate” with the findings of USTR’s original investigation. Defendants did so for

reasons untethered to the unfair practices that USTR had investigated, namely China’s tit-for-tat

countermeasures and a hodgepodge of grievances related to China’s role on the world stage.

        A.    List 3

       28.    Shortly after President Trump directed USTR in April 2018 to consider imposing

duties on $50 billion in Chinese products, China promptly threatened to impose retaliatory duties

on the same value of imports from the United States. In response, President Trump “instructed

the USTR to consider whether $100 billion of additional tariffs would be appropriate under

Section 301” due to “China’s unfair retaliation.” THE WHITE HOUSE, Statement from Donald J.

Trump on Additional Proposed Section 301 Remedies (Apr. 5, 2018), available at

https://www.whitehouse.gov/briefings-statements/statement-president-donald-j-trump-

additional -proposed-section-301-remedies/.




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      29.     When USTR finalized List 1 in mid-June 2018, President Trump warned China

that he would consider imposing additional tariffs on Chinese goods if China retaliated against

the United States. E.g., Vicki Needham & Max Greenwood, Trump Announces Tariffs on $50

Billion in Chinese Goods, THE HILL (June 15, 2018), available at http://thehill.com/homenews/

administration/392421-trump-announces-tariffs-on-50-billion-in-chinese-goods                  (“The

president said the United States will pursue additional tariffs if China retaliates ‘such as imposing

new tariffs on United States goods, services or agricultural products; raising non-tariff barriers;

or taking punitive actions against American exporters or American companies operating in

China.’”).

      30.     On June 18, 2018, President Trump formally directed USTR to consider whether

the United States should impose additional duties on products from China with an estimated

trade value of $200 billion—despite USTR having not yet implemented List 1 and List 2.

President Trump acknowledged that China’s threatened retaliatory “tariffs on $50 billion worth

of United States exports” motivated his decision. THE WHITE HOUSE, Statement from the

President    Regarding       Trade     with    China     (June     18,    2018),     available    at

https://www.whitehouse.gov/briefings-statements/statement-president-regarding-trade-china-2/

(“This latest action by China clearly indicates its determination to keep the United States at a

permanent and unfair disadvantage, which is reflected in our massive $376 billion trade

imbalance in goods. This is unacceptable.”).

      31.     Acknowledging the purpose of the President’s directive, USTR stated that it would

design the newly proposed duties to address China’s threatened retaliatory measures, rather than

any of the harms identified in its Section 301 investigation. OFFICE       OF THE   UNITED STATES

TRADE REPRESENTATIVE, USTR Robert Lighthizer Statement on the President’s Additional


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China Trade Action (June 18, 2018), available at https://ustr.gov/about-us/policy-offices/press-

office/press-releases/2018/june/ustr-robert-lighthizer-statement-0 (explaining that, although

Lists 1 and 2 “were proportionate and responsive to forced technology transfer and intellectual

property theft by the Chinese” identified in the Section 301 investigation, the proposed duties

for a third list of products were necessary to respond to the retaliatory and “unjustified tariffs”

that China may impose to target “U.S. workers, farmers, ranchers, and businesses”).

      32.     China retaliated by imposing 25% ad valorem tariffs on $50 billion in U.S. goods

implemented in two stages of $34 billion and $16 billion on the same dates the United States

began collecting its own 25% tariffs under List 1 (July 6, 2018) and List 2 (August 23, 2018).

      33.     About a week after China imposed its first round of retaliatory duties, USTR

published notice of its proposal to “modify the action in this investigation by maintaining the

original $34 billion action and the proposed $16 billion action, and by taking a further,

supplemental action” in the form of “an additional 10 percent ad valorem duty on [a list of]

products [from] China with an annual trade value of approximately $200 billion.” Request for

Comments Concerning Proposed Modification of Action Pursuant to Section 301: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation,

83 Fed. Reg. 33,608, 33,608 (July 17, 2018). USTR invoked Section 307(a)(1)(C) of the Trade

Act, pursuant to which USTR “may modify or terminate any action, subject to the specific

direction, if any, of the President with respect to such action, … if … such action is being taken

under [Section 301(b)] of this title and is no longer appropriate.” Id. at 33,609 (citing 19 U.S.C.

§ 2417(a)(1)(c)). USTR initially set a deadline of August 17, 2018 for initial comments; August

20-23, 2018 for a public hearing; and August 30, 2018 for rebuttal comments. Id. at 33,608.




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      34.     In its notice, USTR confirmed that it had relied on China’s decision to impose

“retaliatory duties” as the primary basis for its proposed action. Id. at 33,609 (asserting as

justification “China’s response to the $50 billion action announced in the investigation and its

refusal to change its acts, policies, and practices”). USTR explicitly tied the $200 billion in its

proposed action to the level of retaliatory duties imposed by China on U.S. imports, noting that

“action at this level is appropriate in light of the level of China’s announced retaliatory action

($50 billion) and the level of Chinese goods imported into the United States ($505 billion in

2017).” Id.; see also id. (Because “China’s retaliatory action covers a substantial percentage of

U.S. goods exported to China ($130 billion in 2017),” “the level of the U.S. supplemental action

must cover a substantial percentage of Chinese imports.”). Although it pointed to China’s

retaliatory measures, USTR did not identify any increased burdens or restrictions on U.S.

commerce resulting from the unfair practices that USTR had investigated. See id.

      35.     USTR’s contemporaneous press statements corroborated the contents of its notice:

China’s retaliatory duties motivated its proposed action. Ambassador Lighthizer stated that the

proposed action came “[a]s a result of China’s retaliation and failure to change its practice.”

OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Statement by U.S. Trade Representative

Robert Lighthizer on Section 301 Action (July 10, 2018), available at https://ustr.gov/about-

us/policy-offices/press-office/press-releases/2018/july/statement-us-trade-representative.

      36.     That same day, President Trump suggested that the United States’ trade imbalance

with China supported the decision. @realDonaldTrump, TWITTER (July 10, 2018, 9:17 PM

EDT), https://twitter.com/realDonaldTrump/status/1005982266496094209. Over the following

weeks, President Trump also expressed his frustration over China’s purported manipulation of

its currency and national monetary policy, as well as his continued displeasure over China’s


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retaliatory tariffs and the trade imbalance between the two nations. See, e.g.,

@realDonaldTrump,         Twitter      (July        20,       2018,        8:43       AM     EDT),

https://twitter.com/realDonaldTrump/status/1020287981020729344;                   @realDonaldTrump,

TWITTER (July 20, 2018, 8:51 AM EDT), https://twitter.com/realDonald Trump/status/-

1020290163933630464; @realDonaldTrump, TWITTER (July 25, 2018, 7:20 AM EDT),

https://twitter.com/realDonaldTrump/status/1022079127799701504;                   @realDonaldTrump,

Twitter (July 25, 2018, 7:01 AM EDT), https://twitter.com/realDonaldTrump/status/1022074

252999225344.

      37.    Within days of these statements, on August 1, 2018, Ambassador Lighthizer

announced that, in light of China’s retaliatory duties, USTR would propose to increase the

additional duty from 10% to 25% ad valorem. Rather than addressing the practices that USTR

investigated pursuant to Section 301 of the Trade Act, he stated that China “[r]egrettably … has

illegally retaliated against U.S. workers, farmers, ranchers and businesses.” OFFICE         OF THE

UNITED STATES TRADE REPRESENTATIVE, Statement by U.S. Trade Representative Robert

Lighthizer on Section 301 Action (Aug. 1, 2018), available at https://ustr.gov/about-us/policy-

offices/press-office/press-releases/2018/august/state ment-us-trade-representative.

      38.    Shortly thereafter, on August 7, 2018, USTR, at the direction of President Trump,

formally proposed “raising the level of the additional duty in the proposed supplemental action

from 10 percent to 25 percent.” Extension of Public Comment Period Concerning Proposed

Modification of Action Pursuant to Section 301: China’s Acts, Policies, and Practices Related

to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 38,760, 38,760

(Aug. 7, 2018). USTR also set new dates for a public hearing over six days ending on August

27, 2018. See id.; see also OFFICE   OF THE    UNITED STATES TRADE REPRESENTATIVE, Public


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Hearings on Proposed Section 301 Tariff List (Aug. 17, 2018) (modifying hearing schedule),

available at https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/august/-

public-hearings-proposed-section-301.

      39.     At the same time, USTR adjusted the deadlines for the submission of written

comments, setting September 6, 2018—less than a month later—as the new deadline for both

initial and rebuttal comments from the public, 83 Fed. Reg. at 38,761. That adjustment, deviating

from its past practices, prevented both USTR and the public from considering initial comments

at the hearing, and left insufficient time for interested parties to review and respond to the initial

comments filed by other parties. USTR also limited each hearing participant to five minutes.

Docket No. USTR-2018-0026, https://beta.regulations.gov/document/USTR-2018-0026-0001.

Despite those obstacles, approximately 350 witnesses appeared at the six-day hearing, and the

public submitted over 6,000 comments. Id.

      40.     Just eleven days after receiving final comments from the public, President Trump

announced that he had directed USTR “to proceed with placing additional tariffs on roughly

$200 billion of imports from China.” THE WHITE HOUSE, Statement from the President (Sep. 17,

2018) https://www.whitehouse.gov/briefings-statements/statement-from-the-president-4/. Once

again, the President made clear that China’s response to the $50 billion tariff action (i.e., List 1

and List 2 duties) motived his decision, and he immediately promised to proceed with “phase

three” of the plan—an additional $267 billion tariff action—“if China takes retaliatory action

against our farmers or other industries.” Id.

      41.     Following the President’s announcement, USTR published notice of the final list

of products subject to an additional duty, a list commonly known as “List 3.” 83 Fed. Reg. at

47,974. USTR imposed a 10% ad valorem tariff that was set to rise automatically to 25% on

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January 1, 2019. Id. USTR determined that the List 3 duties would apply to all listed products

that enter the United States from China on or after September 24, 2018. Id. USTR did not respond

to any of the over 6,000 comments that it received or any of the testimony provided by roughly

350 witnesses. Id.

      42.      As legal support for its action, USTR for the first time cited Section 307(a)(1)(B)

of the Trade Act, which provides that USTR “may modify or terminate any action, subject to the

specific direction . . . of the President . . . taken under Section 301 if . . . the burden or restriction

on United States commerce of the denial of rights, or of the acts, policies, or practices, that are

the subject of such action has increased or decreased.” Id. (brackets omitted). USTR stated that

the relevant burden “continues to increase, including following the one-year investigation

period,” adding that “China’s unfair acts, policies, and practices include not just its specific

technology transfer and IP polices referenced in the notice of initiation in the investigation, but

also China’s subsequent defensive actions taken to maintain those policies.” Id. USTR also cited

Section 307(a)(1)(C) of the Trade Act, arguing that China’s response to the $50 billion tariff

action “has shown that the current action no longer is appropriate” because “China openly has

responded to the current action by choosing to cause further harm to the U.S. economy, by

increasing duties on U.S. exports to China.” Id. at 47,975.

      43.      In the months that followed, China and the United States attempted to resolve their

differences through trade negotiations. Based on the progress made with China in those

negotiations, the Trump Administration announced in December 2018, and again in February

2019, that it would delay the scheduled increase in the List 3 duty rate from 10 to 25%. Notice

of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 65,198 (Dec. 19,


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2018); Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 7,966 (Mar.

5, 2019).

      44.     In May 2019, when U.S./China trade negotiations fell apart, USTR announced its

intent to raise the tariff rate on List 3 goods to 25%, effective either May 10, 2019 or June 1,

2019, depending on the day of export. See Notice of Modification of Section 301 Action: China's

Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 84 Fed. Reg. 20,459 (May 9, 2019) (“List 3 Rate Increase Notice”); see also

Implementing Modification to Section 301 Action: China’s Acts, Policies, and Practices Related

to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 21,892 (May 15,

2019). The notice cited China’s decision to “retreat from specific commitments agreed to in

earlier rounds” of negotiations as the basis for the increase in the duty rate. List 3 Rate Increase

Notice, 84 Fed. Reg. at 20,459. Unlike with past imposition of new tariffs, USTR did not seek

public comment but rather simply announced that the increase would occur. Id.

      45.     The duties imposed on products covered by List 3 remain in effect as of the date

of this Complaint, with the exception of the limited number of products for which USTR has

granted exclusions from the List 3 duties. See, e.g., Notice of Product Exclusion Extensions:

China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 85 Fed. Reg. 48,600 (Aug. 11, 2020).

      B.      List 4

      46.     On May 17, 2019, eight days after it published notice of its decision to increase

the duty rate on imports covered by List 3, USTR announced its intent to proceed with yet



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another list—List 4—covering even more products subject to additional duties. Under USTR’s

proposal, List 4 would impose an additional duty of 25% ad valorem on products worth $300

billion. Request for Comments Concerning Proposed Modification of Action Pursuant to Section

301: China's Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 84 Fed. Reg. 22,564, 22,564 (May 17, 2019). USTR explained that

its decision was motivated by China’s “retreat[] from specific commitments made in previous

[negotiating] rounds [and] announce[ment of] further retaliatory action against U.S. commerce.”

Id.

      47.     Similar to the process it followed for List 3, USTR invited the public to comment

on proposed List 4 and participate in a hearing. Id. The public submitted nearly 3,000 comments.

Docket No. USTR-2019-0004, https://beta.regulations.gov/document/USTR-2019-0004-0001.

Despite the opportunity to comment, the timeline for participation in the hearing left little room

for meaningful input: USTR required witnesses to submit drafts of their testimony by June 10,

2019, some seven days before the deadline for fully developed written comments, and then it

again limited witnesses to five minutes of testimony at the hearing. Id.

      48.     On August 1, 2019, citing China’s failure to follow through on agricultural

purchases and to reduce exports of fentanyl flowing into the United States, President Trump

announced that the List 4 tariffs would become effective September 1, 2019 at a rate of 10% ad

valorem. @realDonaldTrump, TWITTER (Aug. 1, 2019, 1:26 PM EDT), https://twitter.com/real

DonaldTrump/status/1156979446877962243 (noting a “small additional Tariff of 10% on the

remaining 300 Billion Dollars of goods and products coming from China into our Country”).

      49.     On August 20, 2019, USTR issued a final notice adopting List 4 in two subgroups,

List 4A and List 4B. Notice of Modification of Section 301 Action: China’s Acts, Policies, and

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Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg.

43,304 (Aug. 20, 2019). List 4A would impose a 10% ad valorem duty on goods worth roughly

$120 billion, effective September 1, 2019. Id. at 43,304. List 4B would impose a 10% ad valorem

duty on the remaining goods (with limited exclusions “based on health, safety, national security,

and other factors”), effective December 15, 2019. Id. at 43,305. Once again, USTR did not

address any of the nearly 3,000 comments submitted or any of the testimony provided by

witnesses, other than to claim that its determination “takes account of the public comments and

the testimony.” Id.

      50.     As legal support for its action, USTR again cited Section 307(a)(1)(B) and (C) of

the Trade Act, stating that it may modify its prior action taken pursuant to Section 301 of the

Trade Act if (1) “[t]he burden or restriction on United States commerce” imposed by the

investigated foreign country practice “has increased or decreased,” or (2) “the action … is no

longer appropriate.” Id. at 43,304. But instead of finding any increased burden on U.S. commerce

from the practices that were the subject of USTR’s investigation, USTR merely pointed to

“China’s subsequent defensive actions taken to maintain those unfair acts, policies, and practices

as determined in that investigation,” including retaliatory tariffs on U.S. imports, retreating from

commitments during negotiations, and devaluing its currency. Id.

      51.     Ten days later, on August 30, 2019, USTR published notice of its decision to

increase the tariff rate applicable to goods covered by List 4A and List 4B from 10% to 15%.

Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 45,821 (Aug. 30,

2019). USTR explained that it increased the tariff rate because, shortly after it finalized List 4A

and List 4B, “China responded by announcing further tariffs on U.S. goods.” Id. at 45,822. USTR


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once again cited to China’s retreat from its negotiation commitments and devaluation of its

currency as grounds for its action. Id.

      52.     On December 18, 2019, as a result of successfully negotiating a limited trade deal

with China, USTR published notice that it would “suspend indefinitely the imposition of

additional duties of 15 percent on products of China covered by” List 4B. Notice of Modification

of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology Transfer,

Intellectual Property, and Innovation, 84 Fed. Reg. 69,447, 69,447 (Dec. 18, 2019). USTR also

stated its intent to reduce the tariff rate applicable to products covered by List 4A, id., an action

that ultimately became effective on February 14, 2020, when USTR halved the applicable duty

rate, Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related

to Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg. 3,741 (Jan. 22,

2020).

      53.     In the months that followed, the United States and China implemented the limited

trade deal that they negotiated near the end of 2019. OFFICE       OF THE   UNITED STATES TRADE

REPRESENTATIVE, United States and China Reach Phase One Trade Agreement (Dec. 13, 2019),

https://ustr.gov/about-us/policy-offices/press-office/press-releases/2019/december/united-

states- and-china-reach.

      54.     The duties imposed on products covered by List 4A remain in effect as of the date

of this Complaint. Although the proposed duties on products covered by List 4B remain

suspended, President Trump has continued to threaten to impose them if China does not meet its

obligations under their limited trade deal. See, e.g., @realDonaldTrump, TWITTER (June 22,

2020, 10:22 PM EDT), https://twitter.com/realDonaldTrump/status/1275252814206447618




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(“The China Trade Deal is fully intact. Hopefully they will continue to live up to the terms of

the Agreement!”).

                                  STATEMENT OF CLAIMS

                                         COUNT ONE

(DECLARATORY JUDGMENT—VIOLATION OF THE TRADE ACT OF 1974)

        55.    Paragraphs 1 through 54 are incorporated by reference.

        56.    The Declaratory Judgment Act authorizes any court of the United States to

“declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a).

        57.    The Trade Act of 1974 does not authorize the actions taken by Defendants that

resulted in the List 3 tariffs.

        58.    Pursuant to Section 301 of the Trade Act, USTR may impose tariffs when it

determines that “an act, policy, or practice of a foreign country is unreasonable or discriminatory

and burdens or restricts United States commerce, and action by the United States is appropriate.”

19 U.S.C. § 2411(b). USTR failed to predicate its action giving rise to List 3 on any such

determination.

        59.    If USTR concludes upon investigation that a foreign country maintains an unfair

trade practice, Section 304 of the Trade Act requires USTR to “determine what action, if any,”

to take within “12 months after the date on which the investigation is initiated.” 19 U.S.C. §

2414(a)(1)(B), (2)(B). USTR’s action giving rise to List 3 occurred in September 2018, over a

year after USTR initiated the underlying Section 301 investigation on August 18, 2017.



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           60.   Section 307 of the Trade Act authorizes USTR to “modify or terminate” an action

taken pursuant to Section 301(b) of the Trade Act when the burden imposed on U.S. commerce

from the foreign country’s investigated unfair acts, policies, or practices increases or decreases,

but does not permit Defendants to increase tariffs for reasons unrelated to the acts, policies, or

practices that USTR investigated pursuant to Section 301 of the Trade Act.

       61.       Section 307 of the Trade Act also authorizes USTR to “modify or terminate” an

action taken pursuant to Section 301(b) of the Trade Act if the initial action taken by USTR “is

no longer appropriate,” 19 U.S.C. § 2417(a)(1)(C), but does not authorize Defendants to increase

tariff actions that are no longer “appropriate,” but rather only to delay, taper, or terminate such

actions.

       62.       Plaintiff is therefore entitled to a declaratory judgment that Defendants’ actions

giving rise to List 3 are ultra vires and contrary to law.

                                          COUNT TWO

             (VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT)

       63.       Paragraphs 1 through 62 are incorporated by reference

       64.       The APA authorizes the Court to hold unlawful and set aside agency action that

is: “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;

(B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right; (D) without observance of

procedure required by law; [or] (E) unsupported by substantial evidence.” 5 U.S.C. § 706(2).




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       65.       Defendants exceeded their authority under the Trade Act in promulgating List 3

and therefore acted “not in accordance with the law” and “in excess of statutory authority” for

the reasons set forth in Count One.

       66.       Defendants failed to offer any evidence for any asserted “increased burden” from

China’s intellectual property policies and practices that were the subject of USTR’s Section 301

investigation.

       67.       Defendants also promulgated List 3 in an arbitrary and capricious manner because

they did not provide a sufficient opportunity for comment, failed to meaningfully consider

relevant factors when making their decisions, and failed to adequately explain their rationale.

Defendants’ preordained decision-making resulted in the unlawful imposition of tariffs on

imports covered by List 3 whose value equals $200 billion.

                                      PRAYER FOR RELIEF

       Wherefore, Plaintiff respectfully requests that this Court

       (1)        declare that Defendants’ actions resulting in tariffs on products covered by List

                  3 are unauthorized by, and contrary to, the Trade Act;

       (2)        declare that Defendants arbitrarily and unlawfully promulgated List 3 in

                  violation of the APA;

       (3)       vacate the List 3 rulemaking;

       (4)       order Defendants to refund, with interest as provided by law, any duties paid by

                 Plaintiff pursuant to List 3;




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        (5)    permanently enjoin Defendants from applying List 3 against Plaintiff and

               collecting any duties from Plaintiff pursuant to List 3;

        (6)   award Plaintiff its costs and reasonable attorney fees; and

        (7)   grant such other and further relief as may be just and proper.




                                                    Respectfully submitted,




Date:   17 September 2020                           ______________________________
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                                 CERTIFICATE OF SERVICE

        Pursuant to U.S. Court of International Trade Rule 4(b) and (h), I hereby certify that on

 September 18, 2020, copies of Plaintiff’s Summons and Complaint were served on the following

 parties by certified mail, return receipt requested:




  Attorney-In-Charge                                    Attorney-In-Charge
  International Trade Field Office                      Commercial Litigation Branch
  Commercial Litigation Branch                          U.S. Department of Justice
  U.S. Department of Justice                            1100 L Street, NW
  26 Federal Plaza                                      Washington, DC 20530
  New York, NY 10278

  General Counsel Joseph L. Barloon                     Chief Counsel Scott K. Falk
  Office of the General Counsel                         Office of Chief Counsel
  Office of the U.S. Trade Representative               U.S. Customs & Border Protection
  600 17th Street, NW                                   1300 Pennsylvania Ave., NW
  Washington, DC 20006                                  Washington, DC 20229




Date:    18 September 2020                               ______________________________
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